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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA
Vs. CRIMINAL COMPLAINT
Eduardo Casares

Christina Vasquez
Jose Alfredo Aleman-Martinez Case Number, 2:19-MJ-3115

|, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about August 9, 2019 __ in Brooks County, in the
(Date)
Southern District of Texas, defendant, Eduardo Casares

Christina Vasquez
Jose Alfredo Aleman-Martinez

each aiding, abetting and assisting one another, did knowingly or in a reckless disregard of the fact that an alien had
come to, entered, or remained in the United States in violation of law, transport, or move or attempt to transport or
move such alien within the United States by means of transportation or otherwise, in furtherance of such violation of
law

in violation of Title 8 United States Code, Section(s) 1324
| further state that ] am a(n) Border Patrol Agent and that this complaint is based on the
Official Title .

following facts:

See Attached Affidavit of U.S. Border Patroi Agent James Jewell

Continued on the attached sheet and made a part of this complaint: eS Le

7 anae Complainant
Submitted by reliable electronic means, sworn to, signature Je Jewell
attested telephonically per Fed.R.Crim.P.4.1, and probable cause Printed Name of Complainant

found on the:

August 10, 2019 at Corpus Christi, Texas
Date : City and State

Jason B. Libby U.S. Magistrate Judge
Name and Title of Judicial Officer

Signature of Jdicial Officer

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AFFIDAVIT

The information contained in this report/affidavit is based upon my personal participation in the
investigation, which included, but is not limited to information relayed to me by other agents and
officers participating in the investigation.

FACTS/DETAILS:

On August 9, 2019, at approximately 3:15 a.m., a silver Chevrolet Traverse approached the primary
inspection lane of the Falfurrias checkpoint for an immigration inspection of its occupants. As the
vehicle approached the location of the primary agent, he could see three occupants in the vehicle.
There was an adult male in the driver seat and an adult female in the back passenger seat sitting with
a child in a car seat. The primary agent asked the driver, later identified as Eduardo CASARES,
where he was going, to which CASARES answered Austin, Texas. The primary agent then asked the
purpose for them going to Austin and CASARES replied they were going to visit family. When the
primary agent asked how long they were going to be in Austin, CASARES said they were going to
spend the whole weekend.

The primary agent then asked CASARES how he and the female passenger, later identified as
Christina Vasquez, were related and CASARES stated that they were a couple. The primary agent
then asked CASARES and Vasquez if the child belonged to them and they replied yes. The agent
asked if they had the birth certificate of the child and both passengers replied that they did not. The
primary agent then requested permission to open the rear hatch of the vehicle which was granted by
CASARES. At that time, the primary agent saw that there was not much luggage for their travelling
arrangements. The primary agent went back to CASARES and asked both passengers if they had any
identification. CASARES handed the agent a Texas identification card and VASQUEZ handed the
agent a North Carolina Driver’s License. The primary agent then asked CASARES for consent to
conduct a non-intrusive x-ray inspection of the vehicle which was granted by CASARES. The
primary agent notified Border Patrol Agents in the secondary inspection area not to release the
vehicle as he wanted to conduct a further immigration inspection.

The vehicle was mistakenly released from secondary inspection after being x-rayed. After being
relieved from primary inspection duties, the primary agent left the checkpoint to retrieve the vehicle.
The primary agent found the vehicle in the northbound lane of the Brooks County Rest Area. The
primary agent approached the vehicle and saw CASARES sleeping in the front passenger seat. The
primary agent knocked on the window and when CASARES rolled it down he informed him that he
was mistakenly released from the checkpoint without the inspection being completed. At that time
the primary agent asked CASARES if he could follow him back to the checkpoint to which
CASARES said yes.

Once back at the checkpoint both CASARES and VASQUEZ were asked as to their relationship to
the child. At that time they claimed that the child was their niece and they were going to drop her off
with her family. The primary agent asked again if they had a birth certificate and VASQUEZ said
she left it at their house. VASQUEZ then freely admitted that she did not know the child and that she
was going to drop her off in Houston, Texas. At that time, both VASQUEZ and CASARES were

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detained and read their Miranda Rights in order to determine if the child was kidnapped or an alien
being smuggled. Both subjects agreed to make a statement without a lawyer present. During
VASQUEZ’s statement it was determined the child was an illegal alien.

NOTE:

Border Patrol Agents found a Mexican passport in the vehicle belonging to Jose Alfredo ALEMAN- —
Martinez. A group of eight subjects was apprehended approximately one mile north of the Falfurrias
checkpoint at approximately 4 a.m. During VASQUEZ’s later interview, she admitted to dropping
off the group of eight in order to circumvent the checkpoint. VASQUEZ also identified ALEMAN
as the guide who would lead the aliens through the brush past the checkpoint. ALEMAN was
apprehended amongst the group. Also apprehended in the group was a Mexican female, later
identified as Patricia REYES-Rios, who freely claimed that her child had been in the car that
transported her north when she was dropped off along the highway. Agents confirmed that the child
apprehended at the checkpoint was the child of REYES. All of the aliens apprehended in the brush
stated that they did not wish to make a statement without a lawyer present.

PRINCIPAL STATEMENT (Eduardo CASARES):

CASARES stated he and his girlfriend VASQUEZ made arrangements with a friend called
“Alfredo”, later identified as Jose Alfredo ALEMAN-Martinez, to drop off a group of illegal aliens
to circumvent the immigration checkpoint and to smuggle a baby girl through the checkpoint.
CASARES stated after renting a vehicle at the Harlingen airport he called ALEMAN and was told to
go to the Dolphin Hotel in Donna, Texas. CASARES stated that once he and VASQUEZ arrived at
the hotel, ALEMAN and approximately six other people got into the vehicle. CASARES was then
instructed by ALEMAN to drive towards the Falfurrias checkpoint. CASARES stated that
ALEMAN told him to stop at a crossover when they were near the checkpoint. Upon doing so,
CASARES stated that all of the aliens exited the vehicle and entered the brush to circumvent the
checkpoint. CASARES said that ALEMAN told him to wait at the rest area north of the checkpoint
and wait for him to pick the group up. CASARES stated that he then drove back to the hotel and
picked up VASQUEZ and the child and returned towards the checkpoint. CASARES also stated
after signing a consent form to search his phone that he had ALEMAN’s phone number and several
calls in the call logs. CASARES was shown a photo line-up and was able to positively identify
“Alfredo” as ALEMAN

CASARES stated that ALEMAN was going to pay him $4,000 for his part in smuggling the aliens
through the checkpoint. CASARES claimed he would drop two of the aliens off in Houston and the
rest in Ohio. CASARES also claimed he had rented the vehicle because he needed a larger
automobile to transport all of the aliens.

PRINCIPAL STATEMENT (Christina VASQUEZ):
VASQUEZ stated that about two days ago, her boyfriend CASARES was contacted by an
acquaintance named “Alfredo” (later identified as ALEMAN) to drop off a group of illegal aliens to

circumvent the Falfurrias checkpoint. VASQUEZ also stated that they were to smuggle an illegal
alien child through the checkpoint. VASQUEZ stated that on August 8, 2019, at approximately 10

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p.m., ALEMAN made arrangements for VASQUEZ and CASARES to pick up a group of aliens at
the Dolphin Motel. VASQUEZ stated she rented a vehicle in Harlingen, Texas and drove it to the

motel arriving at approximately midnight. VASQUEZ stated the aliens entered the vehicle one by

one including a baby and her mother and father.

VASQUEZ initially stated both her and CASARES would be paid $1,000, although she later
admitted to payments of $560 per person. When asked if she had smuggled before, VASQUEZ
denied ever doing it, but later admitted to having been apprehended for alien smuggling in the past at
the Falfurrias checkpoint. VASQUEZ also confessed to having come up with the false narrative that
the child was her niece and that they were travelling to Austin, Texas.

When asked if she could describe ALEMAN, VASQUEZ stated that he was approximately 35 years
old, with a medium skin tone, and average build. VASQUEZ stated that ALEMAN not only offered
her the smuggling attempt, but that he was the person guiding the group through the brush.
VASQUEZ also stated that ALEMAN told her to stop and drop off the group and to wait for them
once they walked around the checkpoint. VASQUEZ was to wait for a phone call telling her where
to pick them up.

Border Patrol Agents had found a Mexican passport in the center console and VASQUEZ said that it
may belong to ALEMAN, Once shown the passport photo, VASQUEZ was able to identify
“Alfredo” as ALEMAN. |

DISPOSITION:

The facts of this case were presented to Assistant United States Attorney Reid Manning who
accepted Eduardo CASARES, Christina VASQUEZ, and Jose Alfredo ALEMAN-Martinez for
prosecution of 8 USC 1324, Alien Smuggling. Patricia REYES-Rios and Brayan CARACOZA-
Estala will be held as a Material Witness.

A Le <—" James O. Jewell
LO Border Patrol Agent

United States Magistrate Judge

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